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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA                  §
                                           §
 v.                                        §        No. 4:22-mj-00011
                                           §        The Hon. Kimberly C. Priest Johnson
 ELMER STEWART RHODES III                  §

                          GOVERNMENT’S MEMORANDUM
                      IN SUPPORT OF MOTION FOR DETENTION

           The United States moves to detain Stewart Rhodes pending trial. A federal grand

jury returned an indictment charging Rhodes with seditious conspiracy and related offenses

for orchestrating a plot to oppose by force the execution of laws governing the transfer of

presidential power following the 2020 United States Presidential Election, including an

attack on the United States Capitol on January 6, 2021. Rhodes is also charged with

obstructing justice for destroying evidence of that plot. Based on the compelling evidence

of Rhodes’s leadership of this conspiracy, there are no conditions of release that can

reasonably assure the safety of the community or the defendant’s appearance in court. And

based on Rhodes’s evidence destruction aimed at hiding his crimes and the identities of his

co-conspirators, he poses a risk of obstructing justice should he be released. Pretrial

detention is warranted and necessary.

      I.      Procedural Background

           Rhodes is charged with seditious conspiracy, in violation of 18 U.S.C. § 2384;

conspiracy to obstruct an official proceeding, in violation of 18 U.S.C. § 1512(k);
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obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2); conspiracy to

prevent an officer from discharging any duties, in violation of 18 U.S.C. § 372; and

tampering with documents or proceedings, in violation of 18 U.S.C. § 1512(c)(1). Upon

return of the indictment a U.S. Magistrate Judge for the District of Columbia issued a

warrant for Rhodes’s arrest. Rhodes was arrested on January 13, 2022, and he had his

initial appearance before this Court on Friday, January 14. The United States has moved

for Rhodes’s pretrial detention pursuant to 18 U.S.C. §§ 3142(f)(1)(E) (case that involves

the possession or use of a firearm, destructive device, or any other dangerous weapon),

3142(f)(2)(A) (case that involves a serious risk of flight), and 3142(f)(2)(B) (case that

involves a serious risk that the defendant will obstruct or attempt to obstruct justice, or

threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective

witness or juror). The detention hearing is scheduled for January 24.

    II.      Factual Background

          Rhodes spearheaded a conspiracy to oppose by force the execution of the laws

governing the transfer of presidential power in the United States. In November 2020, days

after the presidential election, Rhodes began recruiting co-conspirators to join him in

traveling to Washington, D.C., for operations aimed at stopping the transfer of power with

the support of an armed “quick reaction force,” or “QRF,” stationed just across the river in

Arlington, Virginia. Rhodes’s co-conspirators joined and implemented his plan by, among

other means, using social media and encrypted messaging to communicate with and recruit

more co-conspirators; organizing and participating in tactical military-style training; and



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amassing weaponry and tactical gear and organizing into regional teams to transport these

items to the D.C. area for operations in support of the conspiracy.

        In December 2020, after the Electoral College cast ballots confirming Joseph Biden

as the President-Elect, Rhodes’s criminal plan focused on delaying or stopping Congress’s

Certification of the Electoral College vote (“Certification proceeding”). Rhodes’s plan

materialized on January 6, 2021, the day of the Certification proceeding, when he oversaw

two military-style stacks of co-conspirators who, along with other rioters, forcibly breached

the Capitol while armed QRF teams stood by, awaiting deployment. The breach succeeded

in delaying the Certification proceeding for several hours. Rhodes and co-conspirators

then fled from the Washington area when they learned the FBI had begun arresting

individuals involved in the attack. In the weeks that followed, Rhodes and his co-

conspirators continued to make plans to stop the presidential power transfer, amass

additional weaponry and tactical gear, and prepare themselves to deploy their arms, if

necessary, to stop the inauguration of a new president.

        As detailed more below, Rhodes stood at the center of the seditious conspiracy—

orchestrating plans to use force, recruiting and financing co-conspirators, purchasing

weaponry and tactical gear, inciting support and action, and endeavoring to conceal his and

other co-conspirators’ crimes.

        A. Rhodes Recruited Co-Conspirators for His Plan to Forcibly Oppose the
           Lawful Transfer of Presidential Power

        Rhodes is the founder and leader of the “Oath Keepers,” which describes itself on

its website as “a non-partisan association of current and formerly serving military, police,


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and first responders (as well as ‘Associate Members’) who pledge to fulfill the oath all

military and police take to ‘defend the Constitution against all enemies, foreign and

domestic.’” In November 2020, days after the election, Rhodes began disseminating

messages to Oath Keepers members and affiliates delegitimizing the results of the election

and encouraging members and affiliates of his organization to forcibly oppose the lawful

transfer of presidential power. See Indictment at ¶¶ 18(a) (telling those on the “Leadership

intel sharing secured” chat (hereafter “Leadership Intel chat”), on November 5, 2020, that

they “MUST refuse to accept Biden as a legitimate winner” and warning, “We aren’t

getting through this without a civil war. Too late for that. Prepare your mind, body,

spirit.”); 18(b) (posting to the Oath Keepers’ website a plan that included “[m]illions

gather[ing] in our capital,” breaking through barricades, and storming the legislature). At

Rhodes’s direction, regional leaders of the Oath Keepers then began recruiting others to

the conspiracy, Indictment at ¶ 20, and preparing for operations inside Washington, D.C.,

Indictment at ¶ 21. Those plans included organizing armed QRF teams to support those

on the ground. Indictment at ¶¶ 42-45.

        In December 2020, Rhodes focused his co-conspirators on the Certification

proceeding of January 6, 2021. During a December 22 interview with a regional Oath

Keepers leader, Rhodes described January 6 as “a hard constitutional deadline” for

stopping the transfer of presidential power and warned that if President-Elect Biden were

to assume the presidency, “We will have to do a bloody, massively bloody revolution

against them.” Indictment at ¶ 30. On December 23, Rhodes published an open letter on

the Oath Keepers website in which he noted that, on January 6, 2021, “tens of thousands

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of patriot Americans, both veterans and non-veterans, will already be in Washington D.C.,

and many of us will have our mission-critical gear stowed nearby just outside D.C.”

Indictment at ¶ 31. Rhodes warned in the open letter that he and others may have to “take

to arms in defense of our God given liberty.” Id.

        Rhodes and his co-conspirators created and administered Signal chats with titles

like “DC OP: Jan 6 21” and “OK FL DC OP Jan 6” for coordinating their plans for January

6. Indictment at ¶¶ 38-40. On these chats, they discussed, among other topics, what

weapons they would bring and plans for the QRF. Id. at ¶ 41-56, 58-60. They utilized

encrypted messaging applications for these planning chats and stressed the need for

operational security. See, e.g., id. at ¶ 27. Rhodes offered to reimburse co-conspirators for

expenses incurred in support of the operation for things like hotels, radios, and

making/copying maps. On these chats and others, Rhodes repeatedly primed his co-

conspirators to prepare themselves to use violence to stop the “usurpers” (as he regularly

referred to the incoming president and vice president) from taking control. On December

31, a week before the Capitol attack, Rhodes wrote to the Leadership Intel Chat, “There is

no standard political or legal way out of this.”

        On December 25, co-conspirator Kelly Meggs messaged an encrypted Signal group

chat titled,“OKFL Hangout,” in reference to the January 6 Joint Session, “We need to make

those senators very uncomfortable with all of us being a few hundred feet away.”

Indictment at ¶ 34. Rhodes wrote in the same chat, “I think Congress will screw him

[President Trump] over. The only chance we/he has is if we scare the shit out of them and

convince them it will be torches and pitchforks time is they don’t do the right thing. But I

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don’t think they will listen.” Id. Rhodes went on to say, “And he (President Trump) needs

to know that if he fails to act, then we will. He needs to understand that we will have no

choice.”

        B. Rhodes and His Co-Conspirators Prepared an Armed QRF To Support
           Their Plot to Stop the Transfer of Power

        As described in greater detail in the indictment, Rhodes and his co-conspirators

coordinated at least three regional QRF teams to support the January 6 operation, and these

teams were stationed at a Comfort Inn in Arlington, Virginia. Indictment at ¶¶ 45-49. The

QRF teams guarded an arsenal of firearms and related equipment and were prepared to

speed those weapons into the hands of co-conspirators on the ground in Washington when

directed by Rhodes or other conspiracy leaders. Id.

        On January 3, Rhodes informed a co-conspirator on Signal, “We WILL have a QRF.

this situation calls for it.” Indictment at ¶ 50. In the following days, co-conspirators

communicated and implemented plans to bring weapons to the Comfort Inn. Id. at ¶¶ 58-

59, 63-65, 68-69. The day before the Capitol attack, on January 5, Meggs and his Florida

team dropped off at least three luggage carts’ worth of gun boxes, rifle cases, and suitcases

filled with ammunition with their QRF team. Members of the Arizona QRF team wheeled

in bags and large bins of weapons, ammunition, and essential supplies to last 30 days. A

third QRF team from North Carolina consisted of four men who kept their rifles ready to

go in a vehicle parked in the hotel lot. Throughout, the QRF team leaders updated Rhodes

of the extent of their weapons stock and apprised him of their readiness to support the

Washington-based operation on January 6. On January 5, for example, Meggs messaged


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Rhodes from near the Comfort Inn, “[W]e are just outside of town unloading at QRF on

our way in.” Indictment at ¶ 65.

        On January 6, the day of the attack, before departing from his hotel for Washington,

Rhodes messaged his co-conspirators, “We will have several well equipped QRFs outside

DC. And there are many, many others, from other groups, who will be watching and

waiting on the outside in case of worst case scenarios.” Indictment at ¶ 70. During the

attack, the QRF remained in communication with Rhodes. For example: at 2:24 p.m., co-

conspirator Edward Vallejo messaged the “DC OP: Jan 6 21” chat, “Vallejo back at hotel

and outfitted. Have 2 trucks available. Let me know how I can assist.” Id. at ¶¶ 86. At

2:38 p.m., Vallejo messaged the chat, “QRF standing by at hotel. Just say the word…” Id.

at ¶ 96.

        Moreover, in the days leading up to January 6, Rhodes himself purchased firearms-

related equipment to contribute to the operation. On January 1 and 2, while still in Texas,

where Rhodes was residing at the time, he spent approximately $5,000 on firearms and

related equipment, including a shotgun, scope, magazines, sights, optics, a bipod, a mount,

a case of ammunition, and gun-cleaning supplies. Indictment at ¶ 47. On January 3,

Rhodes departed Texas and began traveling to the Washington, D.C., metropolitan

area. While traveling, Rhodes spent approximately $6,000 in Texas on an AR-platform

rifle and firearms equipment, including sights, mounts, triggers, slings, and additional

firearms attachments.       Id. at ¶ 57.        On January 4, while still traveling toward the

Washington, D.C., metropolitan area, Rhodes spent approximately $4,500 in Mississippi



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on firearms equipment, including sights, mounts, an optic plate, a magazine, and various

firearms parts. Id. at ¶¶ 61.

        C. Rhodes and his Co-Conspirators Attacked the Capitol as Part of their Plot
           to Stop the Lawful Transfer of Power

        On January 6, as a large crowd gathered on the Capitol grounds and converged on

the building, an Oath Keeper affiliate on the Leadership Intel Chat claimed that Antifa had

breached the Capitol. Indictment at ¶ 77. Rhodes replied: “Nope. I’m right here. These

are Patriots.” Id. He elaborated on a different chat: “Pence is doing nothing. As I

predicted. . . . All I see Trump doing is complaining. I see no intent by him to do anything.

So the patriots are taking it into their own hands. They’ve had enough.” Id. Meanwhile,

on yet another encrypted, invitation-only group chat titled “Jan 5/6 DC Op Intel team,”

which included Rhodes, co-conspirator Joshua James, and others, a participant posted a

link to a video titled “live stream of patriots storming capital,” and another participant

asked, “Are they actually Patriots - not those who were going to go in disguise as Patriots

and cause trouble[?]” Id. at 79. Rhodes responded, “Actual Patriots. Pissed off patriots[.]

Like the Sons of Liberty were pissed off patriots[.]” Id. James followed with, “Were

coming to Capitol ETA 30 MIN[.]” James and his group (including co-conspirators

Roberto Minuta and Brian Ulrich) then headed toward the Capitol. Id.

        Around 2:30 p.m., Rhodes explicitly directed his co-conspirators to go to the

Capitol. Indictment at ¶¶ 88-89. Rhodes then spoke with Meggs. Id. at ¶ 92. Moments

later, Stack One marched up the east steps of the Capitol, joined the mob that was trying to

force the doors open, and breached the building. Id. at ¶¶ 93-95, 97-99. Inside, half of


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Stack One tried to force past riot police to the Senate Chamber, but were rebuffed, and the

other half went in search of Speaker of the House Nancy Pelosi, but did not find her. Id.

at ¶¶ 100-106. Meanwhile, Stack Two, led by James and Minuta, arrived at the Capitol

grounds shortly after 2:30 p.m. Id. at ¶ 111. Stack Two then penetrated the Capitol

grounds, marched to the east side doors through which Stack One had entered, and

breached the Capitol at approximately 3:15 p.m. Id. at ¶¶ 113-118. Members of Stack

Two tried to force their way into the Rotunda but were expelled by riot police officers who

had begun clearing the building. Id. at ¶¶ 119-121. After they exited the Capitol, members

of both Stack One and Stack Two met up with Rhodes and other Oath Keeper members

and affiliates just outside the Capitol. Id. at ¶ 124.

        Because of the breach of the Capitol, members of the House and Senate were

evacuated from their respective chambers at approximately 2:20 p.m. The Joint Session

and the entire official proceeding of the Congress was halted while Capitol Police and other

law-enforcement officers worked to restore order and clear the Capitol of the unlawful

occupants—including Rhodes’s co-conspirators.            The Joint Session was not able to

reconvene until approximately 8:00 p.m. In the course of the attack, over 100 members of

law enforcement were assaulted, and one Capitol Police officer died shortly after being

hospitalized in connection with injuries sustained in the attack. Additionally, four citizens

died; many media members were assaulted and had cameras and other news-gathering

equipment destroyed; and the Capitol suffered millions of dollars in damage—including

broken windows and doors, graffiti, and residue of various pepper sprays, tear gas, and fire



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extinguishers deployed both by crowd members who stormed the Capitol and by law

enforcement officers trying to restore order.

        D. After January 6, Rhodes and his Co-Conspirators Continued Efforts to
           Forcibly Oppose the Lawful Transfer of Presidential Power

        On the evening of January 6, Rhodes gathered some of his co-conspirators at a

restaurant in Vienna, Virginia, to celebrate their attack on the Capitol and discuss next

steps. Indictment at ¶ 125. Rhodes also sent messages to the “DC OP: Jan 6 21” Signal

chat, including: “Thousands of ticked off patriots spontaneously marched on the Capitol ..

. . You ain’t seen nothing yet,” and, “Patriots entering their own Capitol to send a message

to the traitors is NOTHING compared to what’s coming.” Id. at 126.

        In the weeks after January 6, Rhodes purchased a large volume of firearms pieces

and related equipment.

         On January 10, he spent approximately $6,000 on sights, bipods, a scope,
          mounts, backpacks, a gun grip, a magazine pouch, and other related items.

         On January 11, he spent over $1,500 on scopes, magazines, and other items.

         On January 12, he spent nearly $7,000 on hundreds of rounds of ammunition,
          duffel bags, magazines, rifle scopes, a scope mount, a gun light, and other items.

         On January 13, he spent approximately $1,000 on firearms parts.

         From January 14 through January 19, he spent more than $2,000 on firearms
          parts, mounts, magazines, a scope leveler, targets, ammunition, a gun case,
          holsters, and gun-maintenance equipment, among other items.

Indictment at ¶ 129. In total, during the two-week period from the January 6 attack to the

Inauguration, Rhodes spent more than $17,000 on firearms-related equipment.

        Rhodes also summoned co-conspirators like James to his side in Texas. Indictment

at ¶ 130. James collected what he referred to as “all available firearms,” and traveled to
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Texas where he stayed with Rhodes and others. Id. On January 10, James sent Meggs a

message asking if Meggs and other Florida Oath Keepers were coming to Texas to join

him and Rhodes, and Meggs responded, “Fl stays home until shots fired !” Id. at ¶ 131.

         On January 20, Inauguration Day, James messaged another individual, “After

this…if nothing happens…its war…Civil War 2.0.” Indictment at ¶ 133. Around this time,

Rhodes told to his co-conspirators to organize local militias to oppose President Biden’s

Administration. Id. at ¶ 134.

         E. Rhodes Concealed Evidence of the Conspiracy

         Rhodes also took steps to destroy evidence of his involvement in this conspiracy.

When Rhodes’s cellular telephone was seized and searched pursuant to a warrant in May

2021, it revealed evidence that statements by Rhodes at key times on planning/coordination

Signal chats had been deleted. Messages sent by Rhodes in late January, shortly after the

first co-conspirators in this matter were arrested, show Rhodes was aware that messages

from the Signal chat could be used against the co-conspirators. For example, on January

24, Rhodes messaged Vallejo on Signal, “Ed, keep in mind that is NOT a secure chat.

Contains at least one turn-coat snitch. Keep that in mind. Please confirm you got this.”

Later that day, Rhodes messaged Vallejo again, “FBI has Jessica’s [Watkins] phone.1 So

they are no doubt now monitoring any chat she was in. Which included that DC op chat.”

         Additionally, in the weeks after January 6, an associate of Rhodes’s, with whom

Rhodes may have been living at the time, encouraged co-conspirators to delete



1
    Law enforcement arrested co-conspirator Jessica Watkins that week on January 18, 2021.

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incriminating messages from their phones. The investigation has revealed that numerous

co-conspirators deleted evidence from their phones in the weeks after January 6.

    III.    Argument

        Pursuant to 18 U.S.C. § 3142(a), when a defendant is arrested, the Court, in relevant

part, “shall issue an order that, pending trial, the person be (1) released on personal

recognizance . . . ; (2) released on a condition or a combination of conditions . . . ; or (4)

detained under subsection (e).” Detaining a defendant under Section 3142(e) requires a

hearing “pursuant to the provisions of subsection (f).” Id. at § 3142(e). The evidence

outlined above makes plain that Rhodes should be detained pending trial.

        A. Bases for Detention Request

        According to Section 3142(f), there are limited circumstances in which the Court

“shall hold a hearing to determine whether any condition or combination of conditions . . .

will reasonably assure the appearance of such person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(f); see also United States v. Twine, 344

F.3d 987, 987 (9th Cir. 2003). Here, three of those circumstances apply: Subsection

(f)(1)(E) (case that involves the possession or use of a firearm, destructive device, or any

other dangerous weapon), Subsection (f)(2)(A) (case that involves a serious risk of flight),

and Subsection (f)(2)(B) (case that involves a serious risk that the defendant will obstruct

or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten,

injure, or intimidate, a prospective witness or juror). All three bases for a detention hearing

are supported by the evidence outlined above.



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        First, this case involves the possession and use of firearms. Section 3142(f)(1)(E)

mandates a detention hearing in connection with “any felony” if the Government proves

by a preponderance of the evidence that the charged felony “involves the possession or use

of a firearm or destructive device[.]” In determining whether the charged felony “involves

the possession or use of a firearm,” “we may consider the actual conduct at issue in the

specific case,” and not just whether the elements of the charged offenses required the

possession or use of a firearm. United States v. Watkins, 940 F.3d 152, 166 (2d Cir. 2019).2

Here, the conspiracy involved the planning and coordination of QRF teams armed with an

arsenal of firearms that would be brought to co-conspirators on the ground at the direction

of Rhodes or other leaders of the conspiracy.             Accordingly, this case involves the

possession and use of firearms, and Section 3142(f)(1)(E) is an appropriate basis for a

detention hearing.

        Second, this case also involves a serious risk of flight as defined in 18 U.S.C.

§ 3142(f)(2)(A). The defendant is facing potential conviction on numerous felony offenses

that each carry statutory maximum penalties of up to twenty years of incarceration. He is

alleged to have organized a conspiracy to oppose the lawful transfer of presidential power

by force, and thus his willingness to comply with conditions of release set by this

government is in doubt. Additionally, the defendant lacks a permanent address. He is

        2
         In an analogous context interpreting Section 3142(f)(1)(A), the Fifth Circuit held that “it
is not necessary that the charged offense be a crime of violence; only that the case involve a crime
of violence or any one or more of the § 3142(f) factors.” United States v. Byrd, 969 F.2d 106, 110
(5th Cir. 1992) (emphasis in original). In Byrd, the court held that government could have (but
did not) meet its burden under Section 3142(f) by showing that the nonviolent charged offense—
receiving a videotape depicting minors engaged in sexually explicit activity—was accompanied
by actual violent criminal activity such as child molestation.

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estranged from his legal wife and moved out of his permanent residence in Montana at

some point in mid-2020. While he has resided primarily with the associate discussed above

since the attack on the Capitol, there have been many periods where he has left that

residence for several days or several weeks at a time to stay with other associates. The

defendant has his bank statements and similar mail sent to P.O. boxes. Finally, the

defendant has associates located throughout the United States, and he is known to possess

many firearms and related equipment. These factors all combine to give Rhodes the

incentive and means to flee and attempt to evade prosecution.

        Finally, this case also involves a risk of tampering with witnesses and evidence. As

described above, Rhodes stands charged with one count of tampering with documents or

proceedings, in violation of 18 U.S.C. § 1512(c)(1), for deleting Signal messages on key

chats at key times from his cellular telephone. Additionally, shortly after the attack on the

Capitol, Rhodes’s associate discussed above, with whom Rhodes is very close and with

whom Rhodes may have been living at the time, messaged co-conspirators on the

Leadership Intel Chat and told them to delete incriminating messages from their phones.

There is a significant risk that Rhodes would seek to tamper with key witnesses or evidence

as these are identified for him through the discovery process.

        Under any of those three bases—firearms, flight, and tampering—a detention

hearing is warranted. And together, those three features illustrate the need to detain Rhodes

pending trial to protect the community, ensure his return to court, and safeguard the

integrity of evidence and the proceedings.



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        B. Analysis

        The Court must consider four factors to determine whether pretrial detention is

warranted and necessary: (1) the nature and circumstances of the offense charged,

including whether, for example, the offense is a crime of violence; (2) the weight of the

evidence against the defendant; (3) the history and characteristics of the defendant; and (4)

the nature and seriousness of the danger to any person or the community that would be

posed by the defendant’s release. 18 U.S.C. § 3142(g). The persuasion burden rests with

the government. United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). A judicial

officer’s finding of dangerousness must be supported by clear and convincing evidence.

18 U.S.C. § 3142(f); Stone, 608 F.3d at 945. When “risk of flight” is the basis for detention,

however, the government must only satisfy a preponderance of the evidence standard.

United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996); United States v. Chimurenga,

760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna, 769 F.2d 243, 250 (5th Cir.

1985); United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United States v. Motamedi,

767 F.2d 1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs heavily in

favor of Rhodes’s detention given the clear and convincing evidence that his release

presents a particular danger to the community as well as the preponderance of evidence

that he poses a serious risk of flight and of obstructing justice.

                    i. Rhodes’s Criminal Involvement was Extreme and Serious

        A grand jury has found probable cause to charge Rhodes with initiating and leading

a conspiracy to forcibly oppose the lawful transfer of presidential power in the United

States. It is difficult to imagine conduct that poses a graver risk to our society than one

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targeted at undermining the laws and procedures at the heart of our democratic process—

and doing so with force. See United States v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir.

2021) (“[T]o order a defendant preventatively detained, a court must identify an articulable

threat posed by the defendant to an individual or the community. The threat need not be

of physical violence, and may extend to ‘non-physical harms such as corrupting a union.’”)

(citing United States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1988)). As described in

greater detail above and in the indictment, Rhodes put forth the plan for this conspiracy;

he recruited co-conspirators; he organized and administered planning meetings and chats

on encrypted messaging applications; he offered to reimburse co-conspirators for expenses

they incurred in participating in operations in furtherance of the conspiracy; and he

contributed thousands of dollars of his own firearms and related equipment to the cause.

Because Rhodes was the central leader and coordinator of this conspiracy, this factor points

in favor of detention.

                   ii. The Weight of Evidence Against Rhodes is Strong3

        The weight of the evidence of Rhodes’s dangerousness is immense.                   His

dangerousness is chronicled in his written and recorded communications; corroborated by

his conduct before, during, and after January 6; buttressed by his obstruction efforts; and

reinforced by the indisputable success of his planning, most alarmingly the gathering of

dozens of Oath Keepers in the Washington area on January 6 to participate in an attack on




        3
        “This factor goes to the weight of the evidence of dangerousness, not the weight of the
evidence of the defendant’s guilt.” Stone, 608 F.3d at 948 (citation omitted).

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the Capitol featuring two military-style stacks and a QRF, which forced a delay of the

Certification proceeding.

        Rhodes’s electronic communications show a leader who persistently and

methodically readied his co-conspirators to use force and violence to stop the lawful

transfer of presidential power. Casting the struggle for control of the White House in

existential terms—from November 2020 through January 2021, Rhodes regularly used the

terms “civil war” and “revolution” to describe the necessary path forward—Rhodes

repeatedly emphasized to his coconspirators that there was no choice but to take up arms

to stop the transfer of presidential power.

        During this time period, Rhodes engaged in recruitment, planning, and coordination

to ensure the largest possible presence of Oath Keeper members and affiliates in

Washington, D.C., for the critical moments when he believed his group would be in a

position to implement their plan to forcibly oppose the presidential transfer, and he ensured

that these ground forces would be supported by well-armed QRF teams who could supply

them with firepower when needed. Rhodes offered to reimburse co-conspirators for travel

and other expenses related to participating in these operations. And Rhodes personally

spent over $22,000 on purchases of firearms and firearms-related equipment in the week

leading up to January 6, with many of these purchases being made on his drive from Texas

to the Washington, D.C., area.

        Rhodes’s plotting culminated in his co-conspirators’ attack on the Capitol on

January 6—but he and his co-conspirators did not stop there. They continued to plan for

and amass weapons to forcibly oppose the lawful transfer of presidential power. Rhodes

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made an additional $17,000 in firearms and firearms-related purchases in the weeks after

the attack on the Capitol. He called fellow leaders of this conspiracy, like James, to his

side in Texas. As January 20 approached, Rhodes messaged others to organize local

militias to prepare to forcibly oppose the new administration.

        There is overwhelming evidence that Rhodes organized a plot to oppose by force

the execution of the laws of the United States and that he possesses the willingness and

capacity to continue to engage in criminal conduct. Under these circumstances, only

pretrial detention can protect the community from the danger Rhodes poses.

                   iii. History and Characteristics of Rhodes

        Rhodes’s history and characteristics animate the conclusions drawn from the facts

above. He has no known criminal convictions. He is a graduate of Yale Law School and

has previously served in the military. Those experiences highlight that Rhodes should have

and did know better; they support that his words were deliberate, that his deeds were

calculated, and that his intent was criminal. Rhodes used his legal and military training to

lead an attack on our core democratic traditions. His post-January 6 statements and conduct

suggest he would continue to encourage and coordinate violence. On the night of January

6, Rhodes warned his co-conspirators, “Patriots entering their own Capitol to send a

message to the traitors is NOTHING compared to what’s coming.” In the year that has

followed, Rhodes has bolstered his arsenal of weapons and continued to encourage his

followers to forcibly oppose the current presidential administration. There is every reason

to credit Rhodes’s own words and deeds and fear that he has or will plan additional violence

if not detained.

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                   iv. Danger to the Community and Risk of Flight

          Finally, Rhodes is a danger to the community. He organized a conspiracy to oppose

by force the lawful transfer of presidential power and an attack on the United States Capitol

in furtherance of this plot. Moreover, Rhodes set in motion his co-conspirators’ attack on

the Capitol knowing that an armed QRF stood ready at a moment’s notice to ferry an

arsenal of firearms into the hands of their co-conspirators on the ground. While the co-

conspirators did not need to activate the QRF that day, the danger posed by this plot shows

an extreme disregard for the safety of the community and the laws of the United States.

    IV.      Conclusion

          A grand jury has found probable cause to believe that Rhodes hatched and led a plot

to oppose by force the execution of the laws governing the transfer of presidential power

in the United States—including an attack on the Congress while it reviewed the election

results. He then destroyed evidence of his role in these crimes. In so doing, Rhodes showed

a contempt for the laws and Constitution of this country that make it impossible to trust

that he would comply with any conditions fashioned by this Court for his release. Rhodes

must be detained pending trial to protect the safety of the community, ensure his return to

court, and safeguard the integrity of evidence and the proceedings.

                                        Respectfully submitted,

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Dated:          January 20, 2022




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served via CM-ECF electronic
filing to defense counsel on January 20, 2022.
                                                   ___/s/__________________________
                                                   KATHRYN L. RAKOCZY




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